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                IN THE UNITED STATES DISTRICT COURT FOR THE
8
                        EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,          ) Cr. F. No. 04-5086 AWI
11                                      )
                    Plaintiff,          )
12                                      )
          v.                            ) ORDER
13                                      )
     ALI MUHAMMED MUSLEH, et al.,       )
14                                      )
                    Defendants.         )
15   ___________________________________)

16        Having read and considered the parties’ stipulation to

17   continue the trial confirmation, hearing on Rule 12 pretrial
18   motions and motions in limine, and trial in the above-captioned
19   matter,
20        IT IS HEREBY ORDERED THAT the trial confirmation, hearing on
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     Rule 12 pretrial motions and motions in limine will be continued
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     from August 1 to August 21 at 9:00 a.m.
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          IT IS FURTHER ORDERED THAT the trial date of August 15 is
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     hereby vacated and reset for August 29 at 8:30 a.m.
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          IT IS FURTHER ORDERED THAT if the trial proceeds through
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     September 14 and 15, the Court shall not be in session those days
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1    due to Mr. Elia’s unavailability due to a prescheduled vacation.

2         IT IS ALSO THE FINDING OF THE COURT THAT time is excludable
3    under 18 U.S.C. § 3161(h)(F) to allow the Court to consider and
4    resolve pending pretrial motions.
5         WHEREFORE IT IS HEREBY ORDERED that time shall be excluded,
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     pursuant to 18 U.S.C. § 3161(h)(1)(F).
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     IT IS SO ORDERED.
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     Dated:    July 24, 2006                   /s/ Anthony W. Ishii
10   0m8i78                              UNITED STATES DISTRICT JUDGE
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